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       UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT


             No. 25-1555                                    No. 25-1564
Atlas Data Privacy Corporation et al. v.      Atlas Data Privacy Corporation et al. v.
           We Inform, LLC                     Scalable Commerce, LLC, and National
                                                       Data Analytics, LLC
             No. 25-1556
Atlas Data Privacy Corporation et al. v.                    No. 25-1565
           Infomatics, LLC                     Atlas Data Privacy Corporation et al. v.
                                                        Labels & Lists, Inc.
             No. 25-1557
Atlas Data Privacy Corporation et al. v.                    No. 25-1566
      The People Searchers, LLC                Atlas Data Privacy Corporation et al. v.
                                                     Innovis Data Solutions, Inc.
             No. 25-1558
Atlas Data Privacy Corporation et al. v.                    No. 25-1567
           DM Group, Inc.                      Atlas Data Privacy Corporation et al. v.
                                                       Accurate Append, Inc.
             No. 25-1559
Atlas Data Privacy Corporation et al. v.                    No. 25-1568
         Deluxe Corporation                    Atlas Data Privacy Corporation et al. v.
                                                Zillow, Inc., and Zillow Group, Inc.
             No. 25-1560
Atlas Data Privacy Corporation et al. v.                    No. 25-1569
    Quantarium Alliance, LLC, and              Atlas Data Privacy Corporation et al. v.
       Quantarium Group, LLC                               Equimine, Inc.

             No. 25-1561                                    No. 25-1570
Atlas Data Privacy Corporation et al. v.       Atlas Data Privacy Corporation et al. v.
         Yardi Systems, Inc.                  Thomson Reuters Corporation, Thomson
                                              Reuters Holdings Inc., Thomson Reuters
             No. 25-1562                         Canada Limited, Thomson Reuters
Atlas Data Privacy Corporation et al. v.        Applications Inc., Thomson Reuters
     Digital Safety Products, LLC               Enterprise Centre GmbH, and West
                                                      Publishing Corporation
             No. 25-1563
                                                            No. 25-1571
Atlas Data Privacy Corporation et al. v.
      Civil Data Research, LLC                 Atlas Data Privacy Corporation et al. v.
                                                        Melissa Data Corp.
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             No. 25-1572                                    No. 25-1580
Atlas Data Privacy Corporation et al. v.       Atlas Data Privacy Corporation et al. v.
   Restoration of America and Voter                      E-Merges.com Inc.
      Reference Foundation LLC
                                                            No. 25-1581
             No. 25-1573                       Atlas Data Privacy Corporation et al. v.
Atlas Data Privacy Corporation et al. v.                    Nuwber, Inc.
              i360, LLC
                                                            No. 25-1582
             No. 25-1574                       Atlas Data Privacy Corporation et al. v.
Atlas Data Privacy Corporation et al. v.                 RocketReach LLC
 GoHunt, LLC, GoHunt Management
     Holdings, LLC, and GoHunt                              No. 25-1583
    Management Holdings II, LLC                Atlas Data Privacy Corporation et al. v.
                                                Belles Camp Communications, Inc.
             No. 25-1575
Atlas Data Privacy Corporation et al. v.                    No. 25-1584
            AccuZIP, Inc.                      Atlas Data Privacy Corporation et al. v.
                                                        PropertyRadar, Inc.
             No. 25-1576
Atlas Data Privacy Corporation et al. v.                    No. 25-1585
   Synaptix Technology, LLC, and               Atlas Data Privacy Corporation et al. v.
          Voterrecords.com                     The Alesco Group, L.L.C., Alesco AI,
                                                 LLC, Alesco Marketing Solutions,
             No. 25-1577                       L.L.C., Stat Resource Group Inc., and
Atlas Data Privacy Corporation et al. v.          Response Solutions Group, LLC
    Joy Rockwell Enterprises, Inc.
                                                            No. 25-1586
             No. 25-1578                       Atlas Data Privacy Corporation et al. v.
Atlas Data Privacy Corporation et al. v.                  Searchbug, Inc.
       Fortnoff Financial, LLC
                                                            No. 25-1587
             No. 25-1579                       Atlas Data Privacy Corporation et al. v.
Atlas Data Privacy Corporation et al. v.                   Amerilist, Inc.
  MyHeritage Ltd. and MyHeritage
              (USA), Inc.                                   No. 25-1588
                                               Atlas Data Privacy Corporation et al. v.
                                                       US Data Corporation
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              No. 25-1589                                        No. 25-1592
 Atlas Data Privacy Corporation et al. v.           Atlas Data Privacy Corporation et al. v.
 Smarty, LLC, and SmartyStreets, LLC                           Spy Dialer, Inc.

              No. 25-1590                                        No. 25-1593
Atlas Data Privacy Corporation et al. v.            Atlas Data Privacy Corporation et al. v.
 Compact Information Systems, LLC,                     Lighthouse List Company, LLC
 Accudata Integrated Marketing, Inc.,
 Alumnifinder, ASL Marketing, Inc.,                              No. 25-1676
  College Bound Selection Service,                  Atlas Data Privacy Corporation et al. v.
Deepsync Labs, Homedata, and Student                           First Direct, Inc.
           Research Group
                                                                 No. 25-1677
              No. 25-1591
                                                    Atlas Data Privacy Corporation et al. v.
 Atlas Data Privacy Corporation et al. v.                 Greenflight Venture Corp.
             DarkOwl, LLC


                                            ORDER


      The thirty-nine appeals docketed at Nos. 25-1555 through 25-1593 were
previously consolidated and expedited. The newly permitted appeals docketed at Nos.
25-1676 and 25-1677 are consolidated with that group for all purposes.

      As stated in the Court’s orders permitting these appeals, briefing in all appeals will
proceed under the following peremptory schedule:

       All appellants must file a single, joint opening brief by April 14, 2025.
       All plaintiffs must file a single, joint response brief by May 12, 2025. By the
       same deadline, the Attorney General of New Jersey may file its own brief.
       All appellants must file a single, joint reply brief by May 27, 2025.
The Clerk will calendar all appeals for submission to a merits panel during the week of
July 7, 2025.

        The parties should electronically file the briefs and the appendix on all dockets.
Motions should be limited to the dockets to which they relate. The appellants’ case-
opening forms and other individual filings should be filed only on the docket assigned to
the filer’s appeal.
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        Like many of the original thirty-nine appeals, the two newly permitted appeals
involve two plaintiffs who sued under “Jane Doe” pseudonyms. It is unclear whether the
state court or district court granted them permission to conceal their names. If the “Jane
Doe” plaintiffs wish to continue pseudonymously on appeal, they must either (1) provide
a copy of the state- or district-court order granting them pseudonymity or (2) file a
motion asking this Court for that relief. If they do neither of those things by April 15,
2025, they may be required to litigate these appeals under their real names.


For the Court,

 s/ Patricia S. Dodszuweit
Clerk


Dated: April 9, 2025
Lmr/cc: All Counsel of Record
